     Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 1 of 16 PageID #:135




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

TODD        COYER,        KARL        KISNER,
LAURYN OVERBEY, LISA SOLOMON, and
SONNY        PIKE,    Individually    and     as
representatives of a class of similarly situated
                                                   Case No.: 1:22-cv-00362
persons, on behalf of the UNIVAR
SOLUTIONS 401(K) PLAN f/k/a the UNIVAR             The Honorable Robert W. Gettleman
USA INC. VALUED INVESTMENT PLAN,

         Plaintiffs,

v.

UNIVAR SOLUTIONS USA INC., THE
BOARD OF DIRECTORS OF UNIVAR
SOUTIONS USA INC., THE RETIREMENT
PLAN    COMMITTEE          OF    UNIVAR
SOLUTIONS USA INC.; and DOES No. 1-20,
Whose Names are Currently Unknown,

         Defendants.




               DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR
                  MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 2 of 16 PageID #:136




         Plaintiffs’ complaint should be dismissed because their conclusory allegations that

defendants permitted excessive fees, or that the Fidelity Freedom fund target date suite (the

“Active Suite”) should not have been offered, do not state claims for any breaches of fiduciary

duties under the Employment Retirement Income Security Act of 1974 (“ERISA”). Instead,

plaintiffs must plead allegations speaking to flawed decision-making, which they fail to do. See

Divane v. Northwestern Univ., 953 F.3d 980, 989–92 (7th Cir. 2020), vacated and remanded on

other grounds sub nom. Hughes v. Northwestern Univ., 142 S. Ct. 737 (2022). In their opposition,

plaintiffs rely on inapposite case law and conclusory allegations that fail to remedy the pleading

deficiencies that pervade their complaint. The Court should dismiss the complaint in its entirety.

                                              ARGUMENT

    I.      Plaintiffs Fail to State A Claim for Breach of the Duty of Prudence.

         The Seventh Circuit has repeatedly held that excessive fee and underperformance

allegations, like plaintiffs’ here, do not, standing alone, state a claim for breach of the fiduciary

duty of prudence. Divane, 953 F.3d at 991–92; Loomis v. Exelon, 658 F.3d 667, 670–71 (7th Cir.

2011); Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009). The Supreme Court’s recent

decision in Hughes, which vacated Divane and remanded on other grounds, is consistent with this

rule.1 In Hughes, the Supreme Court held that, on a motion to dismiss, courts must “apply[] the

pleading standard discussed in Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007),” and “give due regard to the range of reasonable judgments a

fiduciary may make based on her experience and expertise.” Hughes, 142 S. Ct. at 742. This



1
 In Hughes, the Supreme Court held that “the Seventh Circuit erred in relying on the participants’ ultimate
choice over their investments to excuse allegedly imprudent decisions by respondents.” 142 S. Ct. at 742.
The question of investor choice is not at issue in this case and was not raised by defendants in their opening
motion.


                                                      1
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 3 of 16 PageID #:137




process-oriented approach to the duty of prudence requires plaintiffs to plead allegations “speaking

to flawed decision-making.” Martin v. CareerBuilder, LLC, No. 19-cv-6463, 2020 WL 3578022,

at *4 (N.D. Ill. July 1, 2020) (citing Divane, 953 F.3d at 988–92; Loomis, 658 F.3d at 671–73);

Hughes, 142 S. Ct. at 742.

       The Supreme Court’s recent ruling did not reverse or modify the pleading standards that

plaintiffs fail to meet here. Thus, Divane and the line of Seventh Circuit cases it draws on remain

good law regarding the requirement that, in order to state a claim for breach of the duty of prudence

under ERISA, a plaintiff must plead facts supporting an inference that the fiduciary’s decision-

making was flawed. See Martin, 2020 WL 3578022, at *4. And while ERISA plaintiffs are not

required to plead details to which have they have no access, they still must present allegations that

would allow the Court to infer that defendants’ process was imprudent. Id.. Because plaintiffs’

allegations do not support such an inference, their fiduciary breach count must be dismissed.

           A. Plaintiffs’ Recordkeeping Fee Allegations Are Insufficient.

       Plaintiffs’ excessive recordkeeping fee allegations fail to state a claim for breach of the

duty of prudence because they do not raise a reasonable inference that defendants engaged in a

flawed decision-making process. See Dkt. 29, Defendants’ Memorandum of Law In Support of

Their Motion to Dismiss (“Mot.”), at 5–7. The duty of prudence requires a “context specific”

inquiry that examines “‘the circumstances . . . prevailing’ at the time the fiduciary acts.” Hughes,

142 S. Ct. at 742 (quoting Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409, 425 (2014)). And

to state a claim for breach of fiduciary duty through comparisons to other plan’s recordkeeping

fees, plaintiffs must provide a like-to-like comparison, and show a disparity so significant that it

suggests a deficient decision-making process. See Divane, 953 F.3d at 984, 992 (rejecting

allegation that recordkeeping fees between $153 and $213 per participant were excessive); Martin,

2020 WL 3578022, at *4 (same for fees between $131.55 and $222.43); Meiners v. Wells Fargo

                                                 2
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 4 of 16 PageID #:138




& Co., 898 F.3d 820, 822–24 (8th Cir. 2018). Plaintiffs’ allegations do not plead sufficient detail

to make it plausible rather than merely possible that defendants’ process was imprudent. Martin,

2020 WL 3578022, at *2 (citing Iqbal, 556 U.S. 662; Twombly, 550 U.S. 544).

        In their opposition, plaintiffs assert they have provided a like-to-like comparison, and

demonstrated that defendants caused the Univar USA Inc. Valued Investment Plan (the “Plan”) to

pay excessive recordkeeping fees. See Dkt. 31, Plaintiffs’ Memorandum of Law In Opposition to

Defendants’ Motion to Dismiss (“Opp.”), at 6–8. Plaintiffs contend they “provide meaningful

comparator plans, all with a similar number of participants” for plans ranging from fewer than

5,000 participants to almost double that size, Opp. at 7, while also contending that, regardless, the

number of participants and the total assets in a plan do not meaningfully impact fees, Opp. at 7–8.

Their opposition only highlights their failure to provide an apples-to-apples comparison. Indeed,

if the Court accepted plaintiffs’ assertions that the number of participants and total assets do not

materially impact fees, Opp. at 7–8, any comparison of recordkeeping fees would be a like-to-like

comparison. And as explained in defendants’ motion, these assertions are contradicted by

plaintiffs’ allegations, which acknowledge that “recordkeeping” fees vary depending on the

services provided to a plan, and on a plan’s size, participant composition, and features. Mot. at 6.

        Similarly, plaintiffs’ bare assertions that their comparators offered “effectively” the same

package of recordkeeping and administrative services would nullify the need to show any like-to-

like comparison. Opp. at 8. Plaintiffs fail to provide information about the services purportedly

“offered by all recordkeepers for one price” to support any inference about defendants’ fiduciary

process. Compl. ¶¶ 35–36, 56. It is of no consequence that plaintiffs point to both “bigger” and

“smaller” plans with lower fees2 when their premise is flawed from the start—the number of


2
  Plaintiffs continue to provide no explanation for their misleading comparison of an “average”
recordkeeping and administrative fee per participant between 2016 and 2018 for the Plan, to the “average”

                                                   3
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 5 of 16 PageID #:139




participants in a plan is not the sole driver of fees, especially where plaintiffs have failed to allege

that their comparators received the same set of services, or to allege which of their comparators

employed revenue sharing. Compl. ¶¶ 30, 56–59. Indeed, in their opposition, plaintiffs continue

to fail to explain why they have not alleged which of their purported comparators use revenue

sharing (while recognizing that revenue sharing is material to fees), and fail to explain why they

have conflated recordkeeping and administrative fees. Opp. at 7–8; Mot. at 5–6.

        As explained in defendants’ motion, plaintiffs’ allegations lack the factual detail required

by the Seventh Circuit. Their opposition’s reliance on Sweda v. Univ. of Pennsylvania, 923 F.3d

320, 332 (3d Cir. 2019), which cites to language from Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th

Cir. 2014), is unavailing. The lower court in Tussey relied on ample evidence in the record of self-

dealing and failure to heed warnings of counsel—not conclusory allegations—to conclude that

there was a fiduciary breach. Sweda, 923 F.3d at 348 (Roth, J., concurring in part). But in their

opposition, plaintiffs continue to point only to vague and conclusory recordkeeping fee allegations

that do not plausibly allege a breach of fiduciary duty, and thus fail to state a claim for breach of

fiduciary duty based on excessive recordkeeping fees. See Twombly, 550 U.S. at 555.

            B. Plaintiffs’ Investment Management Fee Allegations Are Insufficient.

        In their opposition, plaintiffs attempt to reframe their complaint as alleging that the Active

Suite’s purportedly high management fees relative to performance indicate imprudence.

Opp. at 8. But their complaint alleges that the Active Suite’s purportedly high management fees

alone indicate imprudence. Compl. ¶¶ 77–78 (describing the Active Suite’s costs in comparison

to those of the Fidelity Freedom Index Suite (the “Index Suite”)). Plaintiffs may not rewrite their

complaint allegations in their opposition. Opp. at 8–9. And as explained in defendants’ motion,


recordkeeping and administrative fee per participant for only 2018 for the “comparable plans.” Opp. at 8
n.2.

                                                   4
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 6 of 16 PageID #:140




“courts must give due regard to the range of reasonable judgments a fiduciary may make based on

her experience and expertise.” Hughes, 142 S. Ct. at 742. “The existence of a cheaper fund does

not mean that a particular fund is too expensive in the market generally or that it is an otherwise

imprudent choice.” Martin, 2020 WL 3578022, at *3 (quoting Davis v. Washington University in

St. Louis, 960 F.3d 478, 486 (8th Cir. 2020) (emphasis in original)).

       Moreover, although plaintiffs argue that there are substantial similarities between the

Active and Index Suites, these similarities are dwarfed by the differences plaintiffs themselves

acknowledge. Plaintiffs identify fundamental differences between the strategy and management

of the two suites, and recognize that those differences drive differences in fees. For example,

plaintiffs allege that the Active Suite “invests predominantly in actively managed Fidelity mutual

funds,” while the Index Suite “places no assets under active management”; that the Active Suite

is “riskier in both its underlying holdings and its asset allocation strategy” (e.g., more allocation,

across its glide path, to “riskier international equities,” and “higher exposure to classes like

emerging market and high yield bonds”); and that actively managed funds “charge higher fees than

index funds” with “manager[s] deciding which securities to buy and sell, and in what quantities.”

Compl. ¶¶ 64, 67–68, 74–75. Given these fundamental differences, plaintiffs’ assertion that the

two suites “share the same investment philosophy” is implausible. Opp. at 9. Indeed, plaintiffs

allege that though the equity glide paths of the Active Suite and Index Suite appear nearly

identical, the Active Suite “subjects its assets to significantly more risk than the Index [S]uite,

through multiple avenues,” as “[t]he goal of an active manager is to beat a benchmark—usually a

market index or combination of indices—by taking on additional risk.” Compl. ¶¶ 67–68.

Plaintiffs also allege that the Active Suite “ha[s] discretion to deviate from the glide path

allocations by 10 percentage points in either direction,” a significant distinction from the Index



                                                  5
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 7 of 16 PageID #:141




Suite. Id. ¶ 75. Plaintiffs cannot overcome these fundamental differences by calling them

“myopic.” Opp. at 9.

       Similarly, plaintiffs’ reliance on various district court opinions is unavailing, particularly

when plaintiffs rely on cases from jurisdictions with different standards than the Seventh Circuit.

The court in Jones v. Coca-Cola Consol., Inc., for instance, distinguished itself in noting that

“[c]ourts in [its] circuit have found a fiduciary breach when [the complaint] alleged that a plan

failed to utilize a cheaper investment option that offers identical underlying investments.”

No. 320CV00654FDWDSC, 2021 WL 1226551, at *5 (W.D.N.C. Mar. 31, 2021). This is not the

standard in the Seventh Circuit, and plaintiffs do not assert otherwise. See Hecker, 556 F.3d at

586 (“[N]othing in ERISA requires every fiduciary to scour the market to find and offer the

cheapest possible fund.”); Loomis, 658 F.3d at 670. Moreover, Jones cites to a case from the

Middle District of North Carolina, Kruger v. Novant Health, Inc., where the plaintiffs alleged the

comparator investment options also had “identical . . . investment styles.” 131 F. Supp. 3d 470,

476 (M.D.N.C. 2015).      Plaintiffs cannot plausibly assert that here, given the fundamental

differences in investment styles they allege between the Active and Index Suites. And a number

of courts have dismissed imprudent investment claims based upon comparisons between actively

and passively managed funds. See Smith v. CommonSpirit Health, No. CV 20-95-DLB-EBA, 2021

WL 4097052, at *6 (E.D. Ky. Sept. 8, 2021) (collecting cases dismissing imprudence claims based

on comparisons between active and passively managed funds) (holding that plaintiff did not

plausibly allege imprudence by comparing the Active and Index Suites because they have different

aims, different risks, and different potential rewards that cater to different investors). Indeed,

plaintiffs do not dispute the “fundamental differences between the two [sets of] funds,” which has

compelled courts “to deem the two types of funds unsuitable comparators.” Id.



                                                 6
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 8 of 16 PageID #:142




        Moreover, other cases on which plaintiffs rely compare the Active Suite’s returns to those

of the Index Suite, which plaintiffs fail to do here. Compl. ¶¶ 77–78. For example, the court in In

re Biogen, Inc. ERISA Litig. found that the crux of plaintiffs’ allegations was that the Active Suite

had substantially underperformed the Index Suite, as evidenced by performance comparisons in

the complaint. No. 20-CV-11325-DJC, 2021 WL 3116331, at *6 (D. Mass. July 22, 2021); see

also In re Omnicom ERISA Litig., No. 20-CV-4141 (CM), 2021 WL 3292487, at *3 (S.D.N.Y.

Aug. 2, 2021); In re MedStar ERISA Litig., No. CV RDB-20-1984, 2021 WL 391701, at *3 (D.

Md. Feb. 4, 2021).3 Here, plaintiffs provide no such comparisons; they rely on fee comparisons

alone.4 Their investment management fee allegations should be dismissed accordingly.

            C. Plaintiffs’ Investment Performance Allegations Are Insufficient.

        Plaintiffs’ investment performance allegations are no better, and plaintiffs again attempt in

their opposition to mischaracterize their allegations and defendants’ motion to overcome the

pleading standard. As an initial matter, defendants did not argue that plaintiffs allege all actively

managed funds are per se imprudent, but that plaintiffs contend the Active Suite is per se

imprudent. Mot. at 9–10. In their opposition, plaintiffs continue to minimize the extent to which

the Active Suite outperformed its competitors during the putative class period, pointing instead to

the Active Suite’s purported performance compared to other target date funds at the start of the




3
  All of these cases rely on Cunningham v. Cornell Univ., No. 16-cv-6525 (PKC), 2017 WL 4358769, at *7
(S.D.N.Y. Sept. 29, 2017), for the proposition that determinations of appropriate benchmarks is not a
question properly resolved at the motion to dismiss stage. Similarly, In re LinkedIn ERISA Litig., 2021 WL
5331448 (N.D. Cal. Nov. 16, 2021) cites to In re: Prime Healthcare ERISA Litig., 2021 WL 3076649 (C.D.
Cal. July 16, 2021), for a similar proposition that also relies on Cunningham. The Court should decline to
apply such a standard, given the inherent differences in the Active and Index Suites alleged in plaintiffs’
complaint. As described above, the differences far outweigh the similarities.
4
  Contrary to plaintiffs’ assertions, defendants did not request that this Court “create a categorical rule
regarding the reasonableness of expenses ratios,” Opp. at 10 n.5, but instead noted that the fees for the
Active Suite were “well within the ranges courts have found reasonable when granting motions to dismiss,”
Mot. at 8.

                                                    7
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 9 of 16 PageID #:143




class period and purported outflows from the Active Suite in 2018. Opp. at 11. But as explained

in defendants’ motion, sources that plaintiffs themselves cite state that the actively managed funds

in the Active Suite outperformed at least 85 percent of their competitors for the first two years of

the putative class period, and that the Active Suite was the second most-widely-held target date

series by market share, as of December 31, 2018. Mot. at 9–10. “Put simply, if imprudence may

be inferred from a fund’s underperformance over a given time period, it stands to reason that

outperformance of the same fund over the same length of time just one year later would weaken,

if not negate, such an inference.” Smith, 2021 WL 4097052, at *8 (emphasis in original). In fact,

one could argue that it would have been imprudent to replace the Active Suite in the first half of

the putative class period, given its performance. “[H]ad [d]efendants done what [p]laintiff[s] say[]

would have been prudent and jettisoned the Active Suite in [2016], Plan investors would have lost

out on substantial gains.” Id. Plaintiffs’ focus on a few discrete data points does not suggest

imprudence.

       Notably, plaintiffs fail to respond to defendants’ arguments that many of the facts alleged

in the complaint suggest that defendants employed a prudent fiduciary process. Plaintiffs, for

example, provide no response to defendants’ contention that half of the twenty-six actively-

managed Fidelity Series Funds in the Active Suite portfolio met or exceeded their respective

benchmarks over their respective lifetimes. Mot. at 11–12. Instead, plaintiffs cloud the issues by

asserting that they are not alleging investment losses are necessarily proof of a fiduciary breach,

but are instead pointing to an alleged “thorough pattern” of red flags demonstrating the

unsuitability of Active Suite. Opp. at 12. But their allegations fall short of making their claims

plausible instead of merely possible, as evidenced by their reliance on comparisons to four of the

largest non-Fidelity managers in the target date fund marketplace. Plaintiffs still offer no



                                                 8
   Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 10 of 16 PageID #:144




explanation, beyond the conclusory assertion that these alleged comparators are the Active Suite’s

“top competitors,” as to why or how the allegedly superior target date funds provide a “sound basis

for comparison” for measuring the performance of the Active Suite, Opp. at 12, such as factual

allegations to establish that the allegedly superior target date funds had similar objectives or

approaches to asset allocation, Meiners, 898 F.3d at 822–23. This vagueness is fatal to their claim.

Mot. at 11.

       Plaintiffs’ other attempts to deflect are similarly unavailing. Plaintiffs agree that ERISA

does not require a minimum performance history for investment options, but again, have not

alleged that the Active Suite lacked a five-year performance history when selected for the Plan.

Opp. at 12–13. And courts have held that allegations “based on five-year returns are not

sufficiently long-term to state a plausible claim of imprudence,” given the difficulty of reaching

conclusions about a fund’s quality based on snapshots of performance over relatively short periods

of time. Davis v. Salesforce.com, Inc., No. 20-CV-01753-MMC, 2020 WL 5893405, at *4

(N.D. Cal. Oct. 5, 2020). Contrary to plaintiffs’ assertions that they are not suggesting that

fiduciaries “reflexively jettison investment options in favor of the prior year’s top performers,”

their allegations that defendants should have replaced the Active Suite at the start of the class

period, based on its alleged performance at that point in time, suggest exactly that. Opp. at 11–12.

       It is reasonable to modify plan offerings over time “as part of a prudent, whole-portfolio,

investment strategy that properly balances risk and reward, as well as short-term and long-term

performance.” Birse v. Century Link Inc., No. 17-cv-02872, 2019 WL 1292861, at *3 (D. Colo.

Mar. 20, 2019) (citing Pension Ben. Guar. Corp. ex rel. St. Vincent Cath. Med. Centers Ret. Plan

v. Morgan Stanley Inv. Mgmt Inc., 712 F.3d 705, 716 (2d Cir. 2013)). Here, the Active Suite was

replaced in the Plan’s investment line-up in 2019, Compl. ¶ 62 n.8, evidencing a prudent process.



                                                 9
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 11 of 16 PageID #:145




See Martin, 2020 WL 3578022, at *6 (finding that allegations of removing or modifying funds

suggest “a prudent process”).5 For these reasons, plaintiffs’ investment performance allegations

should be dismissed.

    II.       Plaintiffs Fail to State A Claim for Ancillary Breaches of Fiduciary Duty.

          As with their imprudence claims, plaintiffs fail to respond to many of the arguments in

defendants’ motion, effectively conceding that their ancillary claims for breaches of fiduciary duty

fail to state a claim upon which relief can be granted. Daugherty v. Univ. of Chicago, No. 17 C

3736, 2017 WL 4227942, at *9 (N.D. Ill. Sept. 22, 2017) (dismissing ERISA duty of loyalty claim

with prejudice where plaintiffs failed to oppose defendants’ arguments for dismissing it). Plaintiffs

offer no opposition to defendants’ argument that their disclosure claim is conclusory and

unsupported. Mot. at 12–13. Plaintiffs also offer no opposition to the argument that their claim

of noncompliance “with the documents and instruments governing the Plan” is devoid of factual

content. Id. at 13. And plaintiffs do not object to the points that “[g]eneral allegations about

revenue sharing do not state a claim,” and that “plaintiffs actually allege a decrease in the Plan’s

recordkeeping and administrative costs over the putative class period.” Id.

          Plaintiffs’ response in support of its duty of loyalty claim is limited to a footnote that merely

restates plaintiffs’ allegations of imprudence and then claims, without elaboration, that the alleged

circumstances “enabled Fidelity to collect its inflated compensation from participants.”

Mot. at 13 n.7. Although plaintiffs assert that “[c]ourts routinely decline to dismiss disloyalty

claims where the factual allegations are, as here, tied to the prudence claims,” id., this assertion

continues to ignore that a breach of the duty of loyalty has a different set of elements that plaintiffs


5
  Plaintiffs’ reliance on Tibble v. Edison Int’l, 575 U.S. 523 (2015) is inapposite. Tibble provides no
guidance on what plaintiffs characterize as “[b]elated replacement” of the Active Suite, as Tibble expressed
“no view on the scope of [] fiduciary duty” regarding what a duty to monitor investments and remove
imprudent ones entails under trust law. Id. at 531.

                                                     10
    Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 12 of 16 PageID #:146




must allege to survive a motion to dismiss. Martin, 2020 WL 3578022, at *6 (collecting cases

where courts require “something more” than merely re-alleging the facts from a duty of prudence

claim, such as self-dealing or failure to communicate material information).

           The footnote’s citations to Kruger, 131 F. Supp. 3d 470, and Morin v. Essentia Health, No.

CV 16-4397 (RHK/LIB), 2017 WL 4876281 (D. Minn. Oct. 27, 2017), do not alter this conclusion.

Mot. at 13 n.7. The Kruger decision only discusses “imprudence.” See generally Kruger, 131 F.

Supp. 3d 470. Tellingly, the Kruger defendants never asked for dismissal of any claims of

disloyalty as distinct from claims of imprudence—as defendants do here—giving the court no

reason to address that question. The Morin decision is likewise unavailing. It ruled on the basis

of Eighth Circuit precedent that the duties of loyalty and prudence under ERISA are analyzed

together. Morin, 2017 WL 4876281, at *1.6 But the Seventh Circuit does not follow the Eighth

Circuit’s approach. See Daugherty, 2017 WL 4227942, at *7–9 (analyzing duty of loyalty and

duty of prudence claims separately); Brieger v. Tellabs, Inc., 629 F. Supp. 2d 848, 860, 866–67

(N.D. Ill. 2009) (same); Patten v. N. Tr. Co., 703 F. Supp. 2d 799, 809–815 (N.D. Ill. 2010) (same).

Accordingly, plaintiffs’ ancillary claims for breaches of fiduciary duty should be dismissed.

    III.      Plaintiffs Fail to State A Claim for Breach of the Duty to Monitor or for Knowing
              Breach of Trust.

           Defendants reiterate that Counts II and III should be dismissed as derivative of plaintiffs’

breach of fiduciary duty claims, which fail to state a claim. See Mot. at 13–14; Section I, infra.

Plaintiffs still fail to point this Court to allegations of any acts or omissions by defendants that

suggest failure to monitor other fiduciaries or knowing acquiescence to other fiduciaries’ breaches.



6
 It is not clear that the Morin court accurately described Eighth Circuit precedent. One of the two cases it
cites for the proposition that “[t]he Eighth Circuit [] has not analyzed these two duties distinctly”—Tussey,
746 F.3d 327—explicitly ruled on a duty of loyalty claim separately from other fiduciary duty claims.
Id. at 340.

                                                     11
   Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 13 of 16 PageID #:147




See Opp. at 14. Their argument amounts to nothing more than a legal conclusion that defendants

must have failed to monitor one another and must have done so knowingly. See id. Plaintiffs’

citations to Godfrey v. GreatBanc Tr. Co., No. 18 C 7918, 2020 WL 4815906 (N.D. Ill. Aug. 19,

2020), and Armstrong v. LaSalle Bank Nat. Ass’n, 446 F.3d 728 (7th Cir. 2006), are inapt, as both

cases analyzed the duty to monitor a Plan’s investments—not the duty “to monitor and evaluate

the performance of [the fiduciary’s] appointees,” which is the claim plaintiffs seek to bring under

Count II. Compl. ¶¶ 107–115. Moreover, the plaintiffs in Godfrey survived motions to dismiss

their knowing participation claims because they alleged specific conduct on the defendants’ part,

including a failure to appoint independent members to a board. 2020 WL 4815906, at *11.

Plaintiffs make no such allegations of conduct here beyond reciting the legal elements of the claim.

Compl. ¶¶ 112, 115.

   IV.       Plaintiffs Lack Standing to Challenge Funds In Which They Did Not Invest and
             to Seek Prospective Injunctive Relief.

         In arguing that plaintiffs fail to allege constitutional standing to seek all the relief they seek,

defendants cited to Thole v. U.S. Bank N.A., a Supreme Court decision holding that ERISA’s

statutory authorization to sue “does not affect the Article III standing analysis.” 140 S. Ct. 1615,

1620–21 (2020); Mot. at 14. In their opposition, plaintiffs cite only the portion of an Eighth Circuit

decision that discusses statutory, rather than constitutional, standing. Opp. at 14–15 (quoting

Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 593 (8th Cir. 2009)). But Braden makes clear that

“[w]hether [a plaintiff] may pursue claims on behalf of the Plan at all is a question of constitutional

standing which turns on his personal injury.” Braden, 588 F.3d at 592 (emphasis added). By

contrast, “[w]hether relief may be had for a certain [injury] is a separate question, and its answer

turns on the cause of action [the plaintiff] asserts.” Id. The Braden court analyzed these questions

separately. Id. at 591–94. Although the court found that the plaintiff had Article III standing, it


                                                     12
   Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 14 of 16 PageID #:148




did not address whether the plaintiff could assert claims for funds in which he could have invested,

but did not invest. See id. at 592 & n.4. And plaintiffs here have provided no allegations of a

“casual[] link” between their purported injuries and funds in which they never invested. Id.

       Plaintiffs attempt to bolster their argument by citing to Cutrone v. Allstate Corp., No. 20

CV 6463, 2021 WL 4439415 (N.D. Ill. Sept. 28, 2021), which declined to follow the approach that

defendants propound from Brown-Davis v. Walgreen Co., No. 1:19-CV-05392, 2020 WL 8921399

(N.D. Ill. Mar. 16, 2020). Opp. at 15. Neither case is binding precedent for the Court, but to the

extent the holdings in Walgreen and Cutrone would demand different conclusions in this case,

defendants urge this court to follow the Walgreen decision. While the Cutrone decision rejects,

without citation, Walgreen’s approach based on the judge’s “view” of Article III, 2021 WL

4439415, at *5, the Walgreen case bolsters its analysis with citation to legal authority, 2020 WL

8921399, at *3. The other three cases plaintiffs cite are also unpersuasive; none addresses the

question of whether an ERISA plaintiff has standing to pursue claims that funds in which they

were never invested were imprudently managed. See Peters v. Aetna Inc., 2 F.4th 199, 221 (4th

Cir. 2021); Braden, 588 F.3d at 593; Fallick v. Nationwide Mut. Ins. Co., 162 F.3d 410, 423 (6th

Cir. 1998).

       Finally, in opposing defendants’ distinct argument that plaintiffs lack standing to pursue

injunctive relief as former members of the Plan, plaintiffs baldly assert (in a footnote) that “[t]his

standing analysis [from Braden] applies equally to claims for injunctive relief.” Opp. at 15 n.9.

But the Braden case never mentions prospective relief, nor does plaintiffs’ only other citation,

Cutrone. See generally Braden, 588 F.3d; Cutrone, 2021 WL 4439415. And the “sweep more

broadly” language on which plaintiffs heavily rely only addresses how far a remedy can extend,

not the type of remedy available. Braden, 588 F.3d at 592. Plaintiffs’ assertion also ignores the



                                                 13
   Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 15 of 16 PageID #:149




obvious fundamental differences between backwards-looking monetary relief and a forward-

looking injunction. See Kenseth v. Dean Health Plan, Inc., 722 F.3d 869, 890 (7th Cir. 2013)

(“[A] plaintiff must demonstrate standing for each form of relief sought.”). A plaintiff may have

standing to pursue damages, but not injunctive relief. See Daugherty, 2017 WL 4227942, at *6–

7 (thoroughly rejecting the argument that ERISA plaintiffs “need not demonstrate individualized

injury to proceed with [Article III standing for] their claims for injunctive relief”). Cases within

the Seventh Circuit that have addressed former plan participants’ standing for prospective

injunctive relief squarely contradict Plaintiffs’ assertions. See, e.g., Briscoe v. Health Care Serv.

Corp., 337 F.R.D. 158, 162 (N.D. Ill. 2020); Kenseth v. Dean Health Plan, Inc., 784 F. Supp. 2d

1081, 1093 (W.D. Wis. 2011). Plaintiffs here lack standing to pursue injunctive relief.

                                         CONCLUSION

       For the foregoing reasons, the complaint should be dismissed in its entirety.

Dated: May 10, 2022                           Respectfully Submitted,

                                              /s/ Craig C. Martin

                                              Craig C. Martin (cmartin@willkie.com)
                                              Amanda S. Amert (aamert@willkie.com)
                                              LaRue L. Robinson(lrobinson@willkie.com)
                                              Sara Kim (skim@willkie.com)
                                              Willkie Farr & Gallagher LLP
                                              300 N. LaSalle Street
                                              Chicago, IL 60654-3406
                                              Tel: (312) 728-9000

                                              Attorneys for Univar Solutions USA Inc., the Board
                                              of Directors of Univar Solutions USA Inc., and the
                                              Retirement Plan Committee of Univar Solutions
                                              USA Inc.




                                                 14
   Case: 1:22-cv-00362 Document #: 33 Filed: 05/10/22 Page 16 of 16 PageID #:150




                                CERTIFICATE OF SERVICE

       Pursuant to Rule 5 of the Federal Rules of Civil Procedure and Rule 5.5 of the Local Rules

of the Northern District of Illinois, the undersigned, an attorney of record in this case, hereby

certifies that, on May 10, 2022, a true and correct copy of the foregoing was filed electronically

by CM/ECF, which caused notice to be sent to all counsel of record.



Dated: May 10, 2022                                 /s/ Craig C. Martin
                                                    Craig C. Martin
                                                    Willkie Farr & Gallagher LLP
                                                    300 N. LaSalle Street
                                                    Chicago, IL 60654-3406
                                                    Tel: (312) 728-9000


                                                    Attorney for Univar Solutions USA Inc., the
                                                    Board of Directors of Univar Solutions USA
                                                    Inc., and the Retirement Plan Committee of
                                                    Univar Solutions USA Inc.
